Case 22-50073          Doc 344       Filed 05/11/22       Entered 05/11/22 16:38:42              Page 1 of 4




                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT
                                  BRIDGEPORT DIVISION

-----------------------------------------------------------------X
                                                                 :
In re:                                                           : Chapter 11
                                                                 :
           Ho Wan Kwok,                                          : Case No. 22-50073 (JAM)
                                                                 :
                                                                 : Ref. Dkt. No. 183
                                 Debtor.                         :
                                                                   Response Deadline: May 11, 2022 at 5:00 pm (ET)
                                                                 :
-----------------------------------------------------------------X

                        DEBTOR’S CONSENT TO DISMISSAL OF CASE

   AND RESPONSE TO PACIFIC ALLIANCE ASIA OPPORTUNITY FUND L.P.’S
     MOTION TO DISMISS CHAPTER 11 CASE OR, IN THE ALTERNATIVE,
        PARTIAL JOINDER TO UNITED STATES TRUSTEE’S MOTION
 FOR AN ORDER DIRECTING THE APPOINTMENT OF A CHAPTER 11 TRUSTEE

TO THE HONORABLE JULIE A. MANNING
UNITED STATES BANKRUPTCY JUDGE:

        Ho Wan Kwok (the “Debtor”), through his below proposed counsel, hereby files this

Consent to Dismissal of Case and Response to Pacific Alliance Asia Opportunity Fund L.P.’s

Motion To Dismiss Chapter 11 Case Or, In The Alternative, Partial Joinder To United States

Trustee’s Motion For An Order Directing The Appointment Of A Chapter 11 Trustee, dated April

6, 2022 [Dkt. No. 183] (the “Motion”), filed by Pacific Alliance Asia Opportunity Fund L.P.

(“PAX”). The Debtor respectfully states as follows:
Case 22-50073         Doc 344         Filed 05/11/22   Entered 05/11/22 16:38:42        Page 2 of 4




                                              RESPONSE

        1.      The Debtor consents to the dismissal of his Chapter 11 case on account of the

tremendous costs imposed on the Debtor from unrelenting litigation by Pacific Alliance Asia

Opportunity Fund L.P. (“PAX”) and others, and his inability to access funds to meet those costs.

        2.      Mr. Kwok commenced this case to do exactly what a chapter 11 debtor should do:

utilize the Bankruptcy Code to provide creditors with a central forum to assert and resolve claims,

allow for an impartial and unbiased examination of the debtor’s assets, and negotiate a fair plan.

        3.      To fund the case and facilitate his restructuring, Mr. Kwok obtained the

commitment of his son’s family office, Golden Spring (New York) Limited (“GSNY”), to provide

$9 million of subordinated, unsecured debtor-in-possession financing. The financing offered a

“no-strings” gift of $1 million to his estate, and $8 million to fund the costs of the case, including

principally a full investigation by an examiner or the official committee of unsecured creditors (the

“Committee”) into his assets, liabilities and financial affairs.      The proposed financing was

supported by the Committee representing Mr. Kwok’s creditors, but opposed by PAX and the

Office of the United States Trustee.

        4.      Mr. Kwok also arranged for a very substantial asset owned by his daughter, the

Lady May yacht with a likely value in excess of $30 million, to be subject to the full jurisdiction

of this Court and made available for liquidation for the benefit of his creditors if it were found to

be in fact an asset of this estate.

        5.      With the benefit of the committed financing and the fully agreed arrangements as

to the yacht, and having testified fully over three days, and abided by all of the requirements

imposed on a chapter 11 debtor, Mr. Kwok anticipated that by now the examination would have

been well underway and that there would be serious engagement by creditors on the terms of the




                                                   2
Case 22-50073        Doc 344     Filed 05/11/22      Entered 05/11/22 16:38:42         Page 3 of 4




plan. Instead, PAX and the Office of the United States Trustee seem committed to relentless and

incredibly expensive litigation, with PAX alone having noticed something in the order of twenty

or more depositions and demanded extensive document productions from numerous persons and

entities. Further, the Court has indicated that it does not intend to approve the committed

financing, and the Debtor has been unable to obtain approval to engage a financial advisor to assist

in the plan efforts and to otherwise assist in performing his duties as a chapter 11 debtor.

       6.      As a result, Mr. Kwok’s case is buckling under the weight of the professional fees

incurred by his professionals (and those of the Committee) responding to PAX’s anything-but-

independent fishing expeditions and litigation. Golden Spring, for its part, sees no end to this

wasteful litigation and refuses to provide an open-ended commitment to fund what has

unfortunately devolved into a litigation frenzy, and has accordingly withdrawn its commitment to

fund Mr. Kwok’s Chapter 11 case. This development has led Mr. Kwok to conclude that this

accrual of administrative expense (for which there is no source of funds to pay) should end and

this case should be dismissed.

       7.      The Debtor thanks the Court and appreciates the time and effort the Court dedicated

to administering his Chapter 11 case. The Lady May is returning to the United States largely due

to the engagement by the Court to help resolve PAX’s lift-stay motion and remedy the

circumstances that led to the New York Court’s findings of contempt. The Court also provided

Mr. Kwok the opportunity to testify in support of his chapter 11 case and tell his side of the story

in open court for the first time since PAX initiated suit against him nearly five years ago.

       8.      Mr. Kwok committed to this Court to conduct his case professionally and

responsibly. The situation on the ground – due to PAX’s unrestrained legal warfare and lack of

funding to satisfy the resulting administrative expenses of his estate – no longer makes that




                                                 3
Case 22-50073           Doc 344        Filed 05/11/22         Entered 05/11/22 16:38:42               Page 4 of 4




possible. Accordingly, the Debtor respectfully consents to the entry an order allowing PAX’s

motion 1 to dismiss the case pursuant to Bankruptcy Code section 1112(b). Post-dismissal, the

Debtor intends to satisfy his legitimate debts.

Dated: May 11, 2022

                                                               BROWN RUDNICK LLP

                                                               By: /s/ William R. Baldiga
                                                               Dylan P. Kletter, Esq.
                                                               185 Asylum Street
                                                               Hartford, Connecticut 06103
                                                               Telephone: (860) 509-6500
                                                               Facsimile: (860) 509-6501
                                                               Email: dkletter@brownrudnick.com

                                                               -and-

                                                               William R. Baldiga, Esq.
                                                               Jeffrey L. Jonas, Esq.
                                                               Bennett S. Silverberg, Esq.
                                                               Seven Times Square
                                                               New York, New York 10036
                                                               Telephone: (212) 209-4800
                                                               Facsimile: (212) 209-4801
                                                               Email: wbaldiga@brownrudnick.com
                                                                       bsilverberg@brownrudnick.com
                                                                       jjonas@brownrudnick.com

                                                               Counsel for Ho Wan Kwok, Debtor




1
    For the avoidance of doubt, the Debtor does not join in PAX’s motion or agree with the cause(s) for relief asserted
    therein.


                                                          4
